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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------- X
                                          :
KAREN OLSON SPERLI,                       :
                                          :
                       Plaintiff,         :
                                          : CASE NO. 1:20-cv-03187-NRB
            -v-                           :
                                          :
GAIN CAPITAL HOLDINGS, INC., JOSEPH A. :
SCHENK, GLENN H. STEVENS, TOM             :
BEVILACQUA, CHRISTOPHER W. CALHOUN, :
ALEX GOOR, DOUG RHOTEN, CHRISTOPHER :
S. SUGDEN, and PETER QUICK,               :
                                          :
                                          :
                       Defendants.        :
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                                   NOTICE OF DISMISSAL

       Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff voluntarily dismisses the above-titled action as moot. This notice of dismissal

is being filed with the Court before service by Defendants of either an answer or a motion for

summary judgment.

Dated: June 24, 2020                               Respectfully Submitted,

                                                   MONTEVERDE & ASSOCIATES PC

                                                   /s/ Juan E. Monteverde____________
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